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AO 93 (Rev. 01/09) Search and Seizure Warrant y b U, '

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UNITED STATES DISTRICT CoURT
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District of Puerto_ Ric`o

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ease No. 19- 544 U"‘\

In the Matter of the Search of

(Briejly describe the property to be searched
or identify tire person by name and address)

hnps:i/www.facebook‘com/'[uan.co§me.5437. which is stored at premises
owned, maintained controlled, or operated by Facebook [nc., a
social-networking website headquartered al 1601 Willow Road, Menlo
Park, CA 94025

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the Search
Of the following person or property located in the Judicial District of Puerto Rico
(ide:iii/_`y the person or describe tire property to be searched and give its iocatiori):

See Attachment A of Affidavit in Support of Application of Search Warrant

The person or property to be searched, described above, is believed to conceal (r'denrgj» the person or describe the property m be se

See Attachment B of Affidavit in Support of Application of Search Warrant

I find that the aftidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property

Y()U ARE COl\/[MANDED to execute this warrant on or before: //‘%:/ad\ 2 i, 20l ci
(not to exceed 10 days)

ij in the daytime 6:00 a.m. to 10 p.m. I:l at any time in the day or night as l find reasonable cause has been
established

Uniess delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare ar
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
@Vl Du i"1

 

iname)

Cl l find that immediate notification may have an adverse result listed in 18 U.S,C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
S€arched Or SeiZ€d (c/ieck the appropriate box) |: for dayS (not to exceed 3()).

funtil, the facts justifying, the later Specific date of

Date and time issued: .j'/H A‘i @ fO'- ?@A'”\ M/?§
dr Judge 's signature

City and state: SAN JUAN, PUERTO RICO US MAGISTRATE JUDGE MARSHAL D. MORGAN

Prr`ri!ed name anti rifle

 

 

 

 

Case 3:19-mj-00544-I\/|DI\/| Document 3 Filed 04/03/19 Page 2 of 2

AO 93 (Rev. 01/09) Sean:h and Seizure Warrant (Page 2)

 

 

Return
Case No.: Date and time wa ant xecuted: Copy of warrant and inventory left with:
' °3"%;"$ /(&'c¢éoo/(£ ..Z;¢'c.

 

Inventory made in the presence of : /

 

lnventorv of the property taken and name of any person(s) seized:

gy¢c-ic,cl»\ *i’i\»»¢)»~j»l\ gaylpr rcC°'C‘~§

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

to the designated judge.

Date; 035 ¢¢[-zv//° l W

ojz`cer 's signature /6%
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Printed name and title

 

 

 

